                           UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE TENNESSEE DIVISION

In re:                                                      Case No. 13-09063-KL3-13
         DAINON TARQUINIUS SIDNEY

                    Debtor(s)


                      Chapter 13 Trustee's Final Report and Account
       Henry E. Hildebrand, III, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:


         1) The case was filed on 10/16/2013.

         2) The plan was confirmed on 12/05/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 09/04/2014.

         6) Number of months from filing to last payment: 11.

         7) Number of months case was pending: 14.

         8) Total value of assets abandoned by court order: $0.00.

         9) Total value of assets exempted: $265,990.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)


  Case 3:13-bk-09063          Doc 82     Filed 12/05/14 Entered 12/05/14 12:13:41              Desc
                                             Page 1 of 3
Receipts:

       Total paid by or on behalf of the debtor                  $45,868.64
       Less amount refunded to debtor                             $8,791.81

NET RECEIPTS:                                                                                       $37,076.83


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                    $3,792.00
    Court Costs                                                                  $0.00
    Trustee Expenses & Compensation                                          $1,371.90
    Other                                                                        $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                     $5,163.90

Attorney fees paid and disclosed by debtor:                     $250.00


Scheduled Creditors:
Creditor                                          Claim         Claim            Claim        Principal       Int.
Name                                Class       Scheduled      Asserted         Allowed         Paid          Paid
ALTAIR OH XIII LLC              Unsecured          1,532.00       1,526.79         1,526.79           0.00        0.00
AMERICAN INFOSOURCE LP AS AGE   Unsecured                NA         293.75           293.75           0.00        0.00
AUSTIN PEAY STATE UNIVERSITY    Unsecured          1,244.00            NA               NA            0.00        0.00
BANK OF NASHVILLE               Unsecured                NA            NA               NA            0.00        0.00
CHARTER COMMUNICATIONS          Unsecured             248.00           NA               NA            0.00        0.00
CREDIT FIRST NA                 Unsecured             802.00        876.82           876.82           0.00        0.00
DAVIDSON COUNTY REGISTER OF D   Unsecured                NA            NA               NA            0.00        0.00
EXCEL ERS LLC                   Unsecured          1,500.00       1,242.81         1,242.81           0.00        0.00
EXCEL RES LLC                   Unsecured                NA            NA               NA            0.00        0.00
FIA CSNA BANK OF AMERICA        Unsecured         43,377.00            NA               NA            0.00        0.00
JPMORGAN CHASE BANK NA          Unsecured                NA            NA               NA            0.00        0.00
NASHVILLE ELECTRIC SERVICE      Unsecured          2,290.86       2,290.86         2,290.86           0.00        0.00
OCEAN BEACH CLUB LLC            Unsecured         19,216.00            NA               NA            0.00        0.00
OCWEN LOAN SERVICING            Secured           64,447.73     61,690.73        65,659.55      11,962.31         0.00
OCWEN LOAN SERVICING            Secured                  NA    648,804.69              0.00     17,835.03         0.00
SPRINT                          Secured                  NA            NA               NA            0.00        0.00
STATE FARM BANK FSB             Secured           16,727.00     12,421.41              0.00           0.00        0.00
STATE FARM BANK FSB             Unsecured          4,190.00       6,327.70         6,327.70           0.00        0.00
STATE FARM BANK FSB             Unsecured          9,067.00     26,580.88        26,580.88            0.00        0.00
SUNTRUST BANK                   Unsecured          3,038.00            NA               NA            0.00        0.00
SUNTRUST BANK                   Secured           20,076.00       5,775.00         5,775.00           0.00        0.00
SUNTRUST BANK                   Secured                  NA    142,614.78              0.00           0.00        0.00
SUNTRUST BANK                   Unsecured                NA            NA               NA            0.00        0.00
THE BANK OF NASHVILLE           Unsecured         93,365.11            NA               NA            0.00        0.00
UNITED STATES TREASURY          Unsecured                NA         768.32           768.32           0.00        0.00
UNITED STATES TREASURY          Secured           20,586.00     12,912.77        12,912.77       1,842.80      272.79
VALINDA BURKS                   Priority                 NA            NA               NA            0.00        0.00
VALINDA BURKS                   Unsecured                NA            NA               NA            0.00        0.00
WILSON AND ASSOCIATES PLLC      Unsecured                NA            NA               NA            0.00        0.00




UST Form 101-13-FR-S (9/1/2009)                                                         Case No. 13-09063



  Case 3:13-bk-09063       Doc 82           Filed 12/05/14 Entered 12/05/14 12:13:41                         Desc
                                                Page 2 of 3
 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00         $17,835.03             $0.00
       Mortgage Arrearage                                $71,434.55         $11,962.31             $0.00
       Debt Secured by Vehicle                                $0.00              $0.00             $0.00
       All Other Secured                                 $12,912.77          $1,842.80           $272.79
 TOTAL SECURED:                                          $84,347.32         $31,640.14           $272.79

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $39,907.93               $0.00             $0.00


Disbursements:

         Expenses of Administration                             $5,163.90
         Disbursements to Creditors                            $31,912.93

TOTAL DISBURSEMENTS :                                                                      $37,076.83


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 12/03/2014                             By:/s/ Henry E. Hildebrand, III
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)                                                  Case No. 13-09063



  Case 3:13-bk-09063          Doc 82      Filed 12/05/14 Entered 12/05/14 12:13:41                Desc
                                              Page 3 of 3
